             IN THE UNITED STATES DISTRICT COURT
         FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                      ASHEVILLE DIVISION

                          CIVIL NO. 1:08CV26-1-T
                             (1:05CR23-12-T)


JOHNNY SHANE MYERS,                        )
                                           )
                  Petitioner,              )
                                           )
            vs.                            )     MEMORANDUM
                                           )      AND ORDER
UNITED STATES OF AMERICA,                  )
                                           )
              Respondent.                  )
______________________________             )


      THIS MATTER is before the Court on the Petitioner's motion

pursuant to 28 U.S.C. § 2255 to vacate, set aside or correct sentence. No

response is necessary from the Government.



                        I. STANDARD OF REVIEW

      A prisoner in federal custody may attack his conviction and sentence

on the grounds that it is in violation of the Constitution or United States law,

was imposed without jurisdiction, exceeds the maximum penalty, or is

otherwise subject to collateral attack. 28 U.S.C. § 2255. However,

      [i]f it plainly appears from the face of the motion and any


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     annexed exhibits and the prior proceedings in the case that the
     movant is not entitled to relief in the district court, the judge
     shall make an order for its summary dismissal and cause the
     movant to be notified.

Rule 4, Rules Governing Section 2255 Proceedings for the United

States District Courts. The Court, having reviewed the record of criminal

proceedings, enters summary dismissal for the reasons stated herein.



                       II. PROCEDURAL HISTORY

     On February 28, 2005, Petitioner and 15 co-Defendants were

charged with conspiracy to manufacture and possess with intent to

distribute methamphetamine in violation of 21 U.S.C. §§ 841 and 846. Bill

of Indictment, filed February 28, 2005. Thereafter, the Petitioner entered

into a plea agreement with the Government wherein he agreed to plead

guilty to the charge contained in the indictment and the Government

agreed that the amount of methamphetamine reasonably foreseeable by

the Petitioner was at least 35 grams but less than 50 grams. Plea

Agreement, filed April 15, 2005. On April 25, 2005, the Petitioner and his

attorney appeared before the Magistrate Judge for a Rule 11 hearing at

which time the Petitioner formally entered his guilty plea. Rule 11 Inquiry




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and Order of Acceptance of Plea, April 25, 2005. At the conclusion of

the Rule 11 hearing, the Magistrate Judge found the Petitioner had

voluntarily and knowingly entered his plea of guilty and that he understood

the charges, potential penalties, and consequences of his plea, and

accepted the Petitioner’s guilty plea. Id. at 10-11. On February 9, 2006,

the Court sentenced Petitioner to a term of 135 months imprisonment.

Judgment in a Criminal Case, filed February 24, 2006. The Petitioner

appealed; on January 26, 2007, the Fourth Circuit affirmed his conviction

and sentence. United States v. Myers, 215 F. App’x 237 (4th Cir. 2007).

      Petitioner timely filed his § 2255 motion on January 25, 2008,

alleging that he received ineffective assistance of counsel both at the trial

and appellate levels.



                              III. DISCUSSION

      In considering the Petitioner’s claims of ineffective assistance of

counsel,

      [f]irst, the defendant must show that counsel's performance
      was deficient. This requires showing that counsel made errors
      so serious that counsel was not functioning as the "counsel"
      guaranteed the defendant by the Sixth Amendment. Second,
      the defendant must show that the deficient performance
      prejudiced the defense. This requires showing that counsel's


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      errors were so serious as to deprive the defendant of a fair trial,
      a trial whose result is reliable.

Strickland v. Washington, 466 U.S. 668, 686 (1984). Unless a defendant

makes both showings, his claim of ineffective assistance of counsel must

fail. Id. Thus, a defendant must show that counsel's performance fell

below objective standards of reasonableness, and, that but for counsel’s

conduct, there was a reasonable probability the result would have been

different. Id., at 688; Hill v. Lockhart, 474 U.S. 52 (1985); Fields v.

Attorney Gen., 956 F.2d 1290 (4th Cir. 1992). In making this

determination, there is a strong presumption that counsel’s conduct was

within the wide range of reasonable professional assistance. Strickland,

supra, at 689; Fields, supra, at 1297-99.

      Moreover, a petitioner who alleges ineffective assistance of counsel

following the entry of a guilty plea must overcome an even higher burden.

Hill, supra, at 53-59. In order to establish the requisite prejudice in

challenging a conviction after a guilty plea, a petitioner must show that

“‘there is a reasonable probability that, but for counsel’s errors, he would

not have pleaded guilty and would have insisted on going to trial.’” Hooper

v. Garraghty, 845 F.2d 471, 475 (4th Cir. 1988 ) (quoting Hill, supra, at

59). This objective determination is based on whether going to trial might


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reasonably have resulted in a different outcome. Hill, supra, at 59-60.

      Petitioner alleges that his trial counsel was ineffective for failing to

properly explain the plea agreement to him and for failing to object to the

provision contained therein that Petitioner reimburse the Government for

the cost of his court appointed attorney. Petitioner’s Memorandum in

Support of Motion to Vacate, filed January 25, 2008, at 7-9. Petitioner

states that he was indigent at the time of his arrest and his trial attorney

was negligent for not confirming this fact and objecting to the requirement

under the terms of the plea agreement that Petitioner to pay the cost of

court appointed counsel. Petitioner further states that he felt pressured by

his counsel to sign the plea agreement with “the pressuring incentive being

released on $50,000 unsecured bond upon signing the plea.” Id. at 8.

      Petitioner does not allege, much less provide any evidence, to

support a conclusion that an objection by his counsel would have resulted

in the removal of the term in his plea agreement requiring him to pay court

appointed counsel. Indeed, this Court is aware that such a term is

standard in plea agreements offered in this District. As such, at a

minimum, Petitioner has failed to establish that he was prejudiced and his

claim fails on this basis.




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      Petitioner also alleges that his trial counsel was ineffective for failing

to properly review the presentence report with him and for failing to object

to the restitution amount he was required to pay. Id. at 9-11. More

specifically, Petitioner objects to being held responsible for what he alleges

is an unequal share of the restitution. A review of Petitioner’s plea

agreement reveals that he agreed to pay full restitution. Plea Agreement,

supra, ¶ 7 (“The defendant agrees to pay full restitution, regardless of

the resulting loss amount[.]”). In addition, Petitioner agreed that such

restitution would “include all victims directly or indirectly harmed by the

defendant’s ‘relevant conduct’[.]” Id. A review of Petitioner’s presentence

report reveals that the terms of the plea agreement with regard to

restitution were carried out. Indeed, Petitioner provides no specifics as to

why he should not be responsible for the restitution related to the three

methamphetamine labs that were on his property and the lab he was

observed leaving.

      Finally, the Court notes that with regard to either allegation, Petitioner

fails to assert or even to hint that but for these alleged errors of his trial

counsel he would not have pled guilty and would have insisted on going to

trial. Notably, nowhere does Petitioner assert his innocence or a




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disagreement with the amount of methamphetamine at issue. Indeed, a

review of the record reveals that the facts support a conclusion that a

reasonable defendant would have pled guilty rather than insisting on going

to trial. See Slavek v. Hinkel, 359 F. Supp. 2d 473, 494 (E.D. Va. 2005)

(asking whether a “reasonable defendant, properly counseled, would

not have pled guilty and would have insisted on going to trial” (citing

Hill, supra)). Petitioner received a 135 month sentence. If Petitioner had

elected to proceed to trial he would have potentially faced a sentence of

235 to 293 months imprisonment.1 Given the overwhelming evidence

against him – direct seizure of methamphetamine lab materials on four

occasions – and the higher sentence he faced, this Court concludes that a



     1
        Petitioner was charged with for conspiracy to manufacture and
possess with intent to distribute more than 1.5 kilograms of
methamphetamine. He stipulated in his plea agreement that the amount to
which he was pleading guilty was greater than 35 grams but less than 50
grams of actual methamphetamine. Petitioner’s presentence report sets
forth that he was responsible for 500 grams of methamphetamine which
would have resulted in an offense level of 32. U.S.S.G. § 2D1.1. With no
adjustment for acceptance of responsibility, Petitioner’s offense level would
have been 35, and combined with a criminal history of IV, he would have
faced a sentencing guideline range of 235 to 293 months. Of course, if the
Petitioner had proceeded to trial and the Government had proven that
Petitioner was responsible for an amount greater than 1.5 kilograms of
methamphetamine, his total offense level would have been 37 and his
guideline range would have been 292 to 365 months.


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reasonable defendant would not have proceeded to trial even if the

defendant understood that he would have to pay the amount of restitution

and the cost of court appointed counsel set forth in Petitioner’s Judgment.

Consequently, Petitioner has failed to establish that his trial counsel was

ineffective.

      As for his appellate counsel, Petitioner alleges that he was ineffective

because he failed to ever meet or communicate with Petitioner.

Petitioner’s Memorandum, supra, at 4-7.

      While such allegations, if true, would likely constitute deficient

performance, Petitioner fails to establish the requisite prejudice. Petitioner

fails to establish that there is a reasonable probability that but for this

alleged error the outcome would have been different. That is, Petitioner

does not state which claims he would have presented on appeal and why

they might have been meritorious. Petitioner does not even state that he

had issues he wished had been appealed. Indeed, the Court notes that a

review of the Fourth Circuit’s docket record does not show that Petitioner

elected to file a supplemental brief. In addition, the Petitioner’s plea

agreement contained a waiver provision which limited Petitioner’s appellate




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claims to those of ineffective assistance of counsel2 and prosecutorial

misconduct. Consequently, Petitioner has failed to establish that his

appellate counsel was ineffective.



                                IV. ORDER

     IT IS, THEREFORE, ORDERED that the Petitioner’s motion to

vacate, set aside, or correct sentence filed pursuant to 28 U.S.C. § 2255 is

DENIED. A Judgment dismissing this action is filed herewith.




                                     Signed: February 26, 2008




     2
        Ineffective assistance of counsel claims are not typically proper on
direct appeal. United States v. King, 119 F.3d 290, 295 (4th Cir. 1997);
see also, Myers, 215 F. App’x at 239 (“[W]hile Myers’ waiver of the
right to appeal does not preclude him from bringing his appeal based
on a claim of ineffective assistance of counsel, his ineffective
assistance of counsel claim is nevertheless not cognizable on direct
review.”).


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